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                  Owner of damaged Erie shop: Federal charge too
                  harsh




                  By Madeleine O’Neill
                  @etnoneill
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                  Federal charge carries mandatory minimum sentence of
                  five years in prison.

                  Hannah Kirby saw the video of her downtown coffee shop being vandalized and
                  set aflame just moments after it happened late on May 30.

                  She and her husband spent much of that night talking it over.

                  “In the moment, watching that was painful,” Kirby said.

                  She knew the damage to her shop, Ember + Forge, at 401 State St., and the rest
                  of the chaos that took over downtown Erie on the night of May 30, would
                  generate a lot of talk in the community.

                  She wants to keep that conversation focused on racial justice.


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                  “We talked a lot about this being a vehicle for change to our system,” she said.
                  “And if that’s what our business needs to be, then we’re here for it.”

                  In an interview with the Erie Times-News, Kirby said she also believes the
                  federal case against the man accused of setting the fire at Ember + Forge, 28-
                  year-old Melquan Barnett, is an example of how the criminal justice system is
                  weighted against Black defendants.

                  The government charges that Barnett set the fire in Ember + Forge after a
                  woman broke out one of the shop’s windows along State Street. The fire was
                  quickly extinguished.

                  Barnett faces a single felony count of malicious destruction of property by fire, a
                  charge that will bring a mandatory minimum sentence of five years in federal
                  prison if he is convicted. The maximum possible sentence for the charge is 20
                  years, though maximum sentences are rare.

                  Kirby said she would like to see the federal charge against Barnett dismissed and
                  the case handled in state court, where penalties are generally less stringent.

                  “I think that being part of this system that we’re in and trying to look at what
                  should happen to Melquan is really challenging, because it’s already set against
                  him,” Kirby said. “I think that for me, the federal charges are extreme.”

                  The unrest on May 30 erupted several hours after a separate, peaceful protest in
                  memory of George Floyd, a Black man who died in police custody in
                  Minneapolis.

                  Investigators have since charged 17 people with various crimes in what police
                  described as a riot that took over downtown Erie later on May 30 and into the
                  early morning hours of May 31. Erie police said 14 officers were injured during
                  the rioting.

                  Barnett was originally charged in state court with arson, rioting, and other
                  offenses, but the case was quickly transferred to U.S. District Court in Erie.

                  The federal charge is based in part on the fact that Ember + Forge engages in
                  “interstate commerce” through its use of Facebook and Instagram, sale of gift
                  cards over the internet, and purchase of coffee cups from New York, according


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                  to charging documents.

                  Kirby sees that as a stretch.

                  Barnett’s lawyer, Charles Sunwabe, agrees.

                  “This matter belongs in state court,” Sunwabe told the Erie Times-News. “The
                  charges are really trumped up, in my view.”

                  The U.S. Attorney’s Office for the Western District of Pennsylvania, which
                  includes Erie, declined to comment on the case.

                  “The U.S. Attorney’s office does not comment on charging decisions,” said
                  Margaret Philbin, a spokesperson for the office, in an email.

                  Barnett maintains his innocence in the fire, Sunwabe said, and Kirby’s opinion
                  on the case isn’t likely to change a prosecutor’s mind.

                  But Sunwabe said he appreciates Kirby’s perspective.

                  “People should focus on why there’s a demonstration going on in this country,
                  and I think that’s not lost on the owner of this store,” he said. “Most people in
                  this country believe that systemic racism has reduced African-Americans to
                  second-class citizens.”

                  Kirby also drew a comparison between Barnett’s treatment and the treatment of
                  an Erie police officer who was caught on video kicking a seated protester during
                  the same disturbance on May 30.

                  Unlike Barnett, the officer has not been charged with a crime or named publicly,
                  Kirby said.

                  Erie Mayor Joe Schember announced a week ago that the officer’s actions were
                  appropriate under the police department’s use-of-force policies, but that the
                  officer would receive a three-day unpaid suspension.

                  The case was turned over to the Erie County District Attorney’s Office, which
                  has made no announcements about a decision, and the protester’s lawyer has
                  asked the state Attorney General’s Office to take over the case.

                  “If we’re going to make examples of folks, why is it uneven?” Kirby asked.

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                  The damage to her business, she said, was fairly minimal and the shop reopened
                  soon after. Though things could have been far worse — there are occupied
                  apartments above the coffee shop — the fire did little more than scorch a
                  tabletop, she said.

                  “Actions have consequences, but we also need to, I think at least, consider
                  impact,” Kirby said.

                  A mandatory minimum won’t allow a judge to consider that if Barnett is
                  convicted. That’s a key issue that proponents of criminal justice reform have
                  been raising for years.

                  Celeste Trusty, the Pennsylvania state policy director for the advocacy group
                  Families Against Mandatory Minimums, said the sentencing mechanisms are
                  problematic because they’re created by legislatures and take away discretion from
                  judges.

                  “If we’re looking for true justice as the goal in the criminal justice system,
                  sentencing decisions should not be made by legislative bodies who are not in the
                  courtroom,” she said.

                  Charges with mandatory minimums are disproportionately used against Black
                  defendants, Trusty said, and contribute to mass incarceration by keeping
                  defendants locked up for longer than they might be otherwise.

                  It’s frustrating, Trusty said, because judges can’t consider mitigating factors and
                  issue a more lenient sentence, even if they think it’s appropriate.

                  In Barnett’s case, for example, Kirby could express her views at Barnett’s
                  sentencing if he is convicted, but the judge would still be required to follow the
                  mandatory minimum sentence.

                  “In this case, where is the justice if nobody agrees but everyone’s hands are tied?”
                  Trusty asked.

                  U.S. Magistrate Judge Richard A. Lanzillo arraigned Barnett on Thursday in U.S.
                  District Court in Erie. Barnett, through his lawyer, entered a not-guilty plea.

                  Barnett is being detained without bond in the Erie County Prison while his case
                  is pending.

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                  Contact Madeleine O’Neill at moneill@timesnews.com. Follow her on Twitter
                  @ETNoneill.




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